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                               UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                Case No. 16-20897-CR-PAS

  UNTIED STATES OF AMERICA,

        Plaintiff,
  vs.

  PRINCESS CRUISE LINES, LTD.,

       Defendant.
  __________________________/

                        ORDER RE: JULY 29, 2020 COURT SESSION

        IT IS ORDERED THAT due to the Coronavirus 2019 (“COVID-19”) pandemic:

            1) The status conference scheduled for 2:00 PM EST on July 29, 2020 by

                the Court's January 9, 2020 Order [DE 174] will proceed as scheduled but

                will be held via virtual means. The court anticipates the conference

                terminating at approximately 3:30 PM EST.

            2) At the status conference, the parties shall be prepared to discuss the

                following:

                     a. Issues and/or concerns raised by the Court Appointed Monitor’s

                        Annual Report [DE 191] and the Third Party Auditor’s Year Three

                        Annual Report [DE 193];

                     b. Issues and/or concerns raised by the status reports that are to be

                        filed by the Parties on or before July 22, 2020;

                     c. The status of remote visits and audits as described in the June 2,

                        2020 Order Re: Covid-19 Impacts and Probation Obligations [DE

                        189]; and
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                 d. The Company’s measures related to maintaining the health and

                     safety of the crew necessary to carrying out their compliance

                     obligations. This should include reference to the areas identified as

                     “major concerns” (on bottom & top of pp. 7-8), as well as the

                     elements of the “minimum” plan necessary to prevent the spread of

                     COVID-19 among crew (on pp. 17-18, §§ 3(a)-(n)), of the July 16,

                     2020 “Second Modification and Extension of No Sail Order and

                     Other Measures Related to Operations,” issued by the U.S. Centers

                     for Disease Control and Prevention.

           3) In order to facilitate the virtual conference, by noon (12:00 PM EST) on

              Monday, July 27, 2020, the Parties shall provide the first and last name

              and the email for each person who will participate in the status

              conference. The following people SHALL attend the status conference via

              ZOOM:

                     a.     Counsel for all Parties,

                     b.     Chairman of the Boards of Directors Micky Arison;

                     c.     CEO Arnold Donald;

                     d.     COO Josh Weinstein;

                     e.     Chief Maritime Officer Vice Admiral William Burke (Ret.);

                     f.     Chief Ethics and Compliance Officer Peter Anderson;

                     g.     Health/Safety/Security Corporate Compliance Manager

                            Gerry Ellis;




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                      h.     Environmental Corporate Compliance Manager Chris

                             Donald;

                      i.     The Third Party Auditor;

                      j.     The U.S. Probation Officer; and

                      k.     The Court Appointed Monitor.

           4) The public and the press may listen to the status conference on July 29,

               2020 via ATT telephone conference by:

                      i. Calling the Toll Free Number: (877) 848-7030

                      ii. Entering the Access Code, followed by the # sign: 4607489

        (There is no security code, so bypass this step if a security code is requested).

           5) The Parties are encouraged to confer prior to the status conference in an

               effort to streamline any issues and to maximize the time allotted by the

               Court for the hearing.

  DONE AND ORDERED in Miami, Florida, this 21st day of July, 2020.



                                           ___________________________________
                                           PATRICIA A. SEITZ
                                           UNITED STATES SENIOR DISTRICT JUDGE




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